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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

 UNITED STATES OF AMERICA                   )   CASE NO: 1:20-cr-0014
                                            )
                                            )
                    v.                      )
                                            )
 MICHAEL PEYTON GUNN                        )

   UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT’S
 MOTION FOR JUDGMENT OF ACQUITTAL AND NEW TRIAL [DOC. 256]

      NOW COMES the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and files the response

of the United States of America to Defendant’s Motion for Judgment of Acquittal

and New Trial. (Doc. 256)

I.    Procedural Background

      On March 5, 2020, the defendant was charged in a five-count indictment with

production of child pornography by a parent or guardian and possession of child

pornography, in the Southern District of Georgia. (Doc. 2).

      On March 3, 2021, the defendant was charged in a nine-count superseding

indictment with conspiracy sex trafficking of a minor, sex trafficking of a minor

coercion and enticement of a child to engage in sexual activity, production of child

pornography by a parent or guardian, possession of child pornography and

obstruction of a sex trafficking investigation, in the Southern District of Georgia.

(Doc. 153).
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      A pretrial conference was held on November 4, 2021. (Doc. 213) On November

15, 2021, defendant's four-day trial began. (Doc. 241) On November 18, 2021, a jury

returned a verdict of guilty on all nine counts of the Superseding Indictment, and

the defendant was adjudged guilty. (Doc. 244)

      On November 30, 2021, defendant filed a timely motion for judgment of

acquittal and motion for new trial. (Doc. 256)

      As grounds for his motions, Gunn contends that even taken in the light most

favorable to the government, there was insufficient evidence at trial to establish

beyond a reasonable doubt that the defendant committed the count alleged in the

Superseding Indictment. (Id. at 2) Gunn suggests that the Government only proved

that other individuals were guilty of other crimes charged in the Superseding

Indictment (Id. at 3)

      II.    Argument

      Pursuant to Rule 29 of the Federal Rules of Criminal Procedure, a district

court must enter a judgment of acquittal if "the evidence is insufficient to sustain a

conviction." When evaluating Rule 29 claims for judgment of acquittal, the Court

must view the evidence in the light most favorable to the Government, making all

reasonable inferences and credibility determinations in favor of the jury's verdict.

United States v. Ward, 197 F.3d 1076, 1079 (11th Cir. 1999). The Court need only

determine "whether a reasonable jury could have found the defendant guilty beyond

a reasonable doubt" based on the evidence. United States v. Sellers, 871 F.2d 1019,

1021 (11th Cir. 1989)



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      Pursuant to Rule 33 of the Federal Rules of Criminal Procedure, upon a

defendant's motion, "the court may vacate any judgment and grant a new trial if the

interest of justice so requires." The rule may be applied, for example, where there is

a finding of prosecutorial misconduct or insufficient evidence to support the jury's

verdict. United States v. Dixon, 658 F.2d 181, 193 (3d Cir. 1981). When the basis of

a motion for a new trial is the weight of the evidence, "the court need not view the

evidence in the light most favorable to the verdict." United States v. Hernandez, 433

F.3d 1328, 1335 (11th Cir. 2005) (quoting United States v. Martinez, 763 F.2d 1297,

1312 (11th Cir. 1985)). Instead, "[it may weigh the evidence and consider the

credibility of the witnesses." Id. (quoting Martinez, 763 F.2d at 1312). Thus, a

motion for a new trial employs a different, less onerous standard for a defendant to

meet than a motion for judgment of acquittal. See id. at 1335-36 (vacating a lower

court's decision for applying an incorrect standard to a defendant's motion for a new

trial). If the court concludes that, despite the abstract sufficiency of the evidence to

sustain the verdict, the evidence preponderates sufficiently heavily against the

verdict that a serious miscarriage of justice may have occurred, it may set aside the

verdict, grant a new trial, and submit the issues for determination by another jury.

Id. at 1335 (quoting Martinez, 763 F.2d at 1312). Nevertheless, motions for new

trials based on the weight of the evidence are granted sparingly, with caution, and

in "really 'exceptional cases.'" Id. at 1336-37 (quoting Martinez, 763 F.2d at 1313).

      Defendant's contention that there was insufficient evidence to convict him on

all counts of the Superseding Indictment is without merit. Evidence at trial showed



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conclusively, as alleged in the indictment, that Gunn conspiracy sex trafficking of a

minor, sex trafficking of a minor coercion and enticement of a child to engage in

sexual activity, production of child pornography by a parent or guardian, possession

of child pornography and obstruction of a sex trafficking investigation, in the

Southern District of Georgia.


      A. The evidence was sufficient to support the verdict and the weight
         of evidence supports the verdict.

      During the defendant's four-day trial, the United States presented ten

witnesses and overwhelming documentary and physical evidence–

      1) testimony from the minor victim who identified his/her sexual abuser as

          the defendant;

      2) testimony from the minor victim who detailed the steps employed by the

          defendant to carry out the business of sex trafficking the minor;

      3) testimony from the minor victim who testified about the defendant’s

          production of child production;

      4) testimony from the minor victim about the defendant’s destruction of

          electronic devices and physical evidence related to sex trafficking and the

          production of child pornography;

      5) forensic evidence which identified child pornography on electronic devices

          belonging to the defendant;

      6) forensic evidence which identified child pornography attached to email

          addresses controlled by the defendant;



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         7) testimony and exhibits attributing use of electronic devices with child

            pornography to the defendant;

         8) images of child pornography including a white sneaker worn by the person

            capturing images of child pornography;

         9) an audio recording of the defendant’s statement given to law

            enforcement;

         10) testimony from the defendant’s parents identifying the owner of the shoe

            in the images of child pornography as the defendant;

         11) testimony from the defendant’s co-conspirator and other witnesses

            regarding the sex trafficking conspiracy; and

         12) trial exhibits, including the images of child pornography

– to prove its case.

         The Court instructed the jury concerning the elements of all nine counts in

the Superseding Indictment. (Doc. 252) Clearly, a reasonable jury, weighing the

evidence presented and following the Court’s instructions, could convict the

Defendant of these counts. The jury’s speedy deliberation and guilty verdict

demonstrated its confidence in the evidence presented during the trial.

         There is no reason to believe that a miscarriage of justice occurred and

Defendant's contention that he is entitled to acquittal or a new trial is without

merit.

         For each of the foregoing reasons, Gunn’s motion(s) should be denied.




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            Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (ANEF@) which was generated as a result

of electronic filing in this Court.

       This 23rd day of December 2021.


                                                   Respectfully submitted,

                                                   DAVID H. ESTES
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